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CRIMINAL COMPLAINT
(Electronically Submitted)
. . . DISTRICT of ARIZONA
United States District Court °
United States of America DOCKET NO.
v.
Jose Hermosillo MAGISTRATE'S CASE NO.
YOB: 2006; Citizen of Mexico 25-01880MJ

Complaint for violation of Title 8, United States Code Section 1325(a)(1)

COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

On or about April 8, 2025, at or near Nogales, in the District of Arizona, Jose Hermosillo, an alien, enter the United
States of America from Mexico at a time or place other than as assigned by immigration officials of the United States
of America in violation of Title 8, United States Code Section 1325(a)(1), a petty misdemeanor.

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

Jose Hermosillo is a citizen of Mexico. On April 8, 2025, agents found Jose Hermosillo in the United States at or
near Nogales, Arizona, without the proper immigration documents. Jose Hermosillo did not obtain the express
consent of the Attorney General or the Secretary of the Department of Homeland Security to apply for admission to
the United States, Furthermore, Jose Hermosillo admitted to illegally entering the United States of America from
Mexico on or about April 7, 2025, at or near Nogales, Arizona at a time or place other than as designated by
immigration officials.

MATERIAL WITNESSES IN RELATION TO THE CHARGE:

DETENTION REQUESTED SIGNATURE OF GOMPLAINANT (official title)
Being duly sworn, I declare that the foregoing is Le
true and correct to the best of my knowledge. Border Patrol Agent
Eric R. Wood
Sworn by telephone x

SIGNATU MAGISTRATE JUDGE” DATE
1)

See Federal rules of Criminal Procedure Rules 3, 4,1, and 54

Reviewing AUSA: Hopkins
